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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA
                                 NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                             MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                    SECTION “N-5"

                                                                JUDGE ENGELHARDT
                                                                MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Nunnery, et al v. Keystone RV Industries., et al,
E.D. La. Case No. 09-3871

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      MEMORANDUM IN SUPPORT OF PLANITIFF’S MOTION IN LIMINE TO
                        EXCLUDE EVIDENCE

MAY IT PLEASE THE COURT:

        Plaintiff, David McGraw, through undersigned counsel, moves this Court to exclude any

reference to Plaintiff’s prior arrest and related information on the grounds that such evidence is

highly prejudicial to Plaintiff and is not relevant to the issues to be presented at trial

    I. Introduction and Background

        Plaintiff, David McGraw’s lawsuit against Keystone RV Company, CH2M Hill

Constructors, Inc., and the United States of America (collectively referred to as “defendants”),

alleges that the defendants negligently exposed him to formaldehyde, a known human

carcinogen, through the manufacture, installation, maintenance of the travel trailer provided to

him by FEMA in the wake of Hurricane Katrina. Mr. McGraw has reason to believe that

Defendants will attempt to introduce at trial an arrest in 1992 for possession of cocaine and

related information. At Mr. McGraw’s deposition, Counsel for Keystone questioned Mr.

McGraw about prior arrests or convictions. See Deposition of David McGraw, at p. 282-284. Mr.
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McGraw testified that he had not been convicted for 1992 arrest. Id at p. 283. Upon further

questioned, Mr. McGraw testified that he had been arrested for possession of cocaine when

police arrested everyone present in his neighborhood after finding cocaine in a nearby house. Id.

        Mr. McGraw now moves the Court to exclude all reference to Mr. McGraw’s prior arrest

and related information on the grounds that such evidence is highly prejudicial to plaintiff and is

not relevant to the issues to be presented at trial.

    II. Argument

            a. Legal Standard

        The Court may exclude evidence under the standard set out in Federal Rule of Evidence

403, which provides:

                Although relevant, evidence may be excluded if its probative value
                is substantially outweighed by the danger of unfair prejudice,
                confusion of the issues, or misleading the jury, or by
                considerations of undue delay, waste of time, or needless
                presentation of cumulative evidence.

The trial judge has wide discretion in rendering Rule 403 rulings. Buford v. Howe, 10 F.3d 1184,

1189 (5th Cir. 1994). Rule 403 is designed to exclude evidence that has an undue tendency to

suggest decision on an improper basis. See Advisory Committee’s Notes on Fed. Rule Evid. 403,

28 U.S.C. App., p. 860. It is the trial court’s function to exclude evidence that would confuse

issues and distract the attention of the jury from the primary to collateral issues. Smith v.

Executive Club, Ltd., 458 A.2d 32, 41 (D.C. 1983). Furthermore, evidence of acts which some

jurors may find socially offensive would unfairly influence jury deliberations. Aetna Cas. And

Sur. Co. v. Gosdin, 803 F.2d 1153, 1159 (11th Cir. 1986).

        Federal Rule 404(b) provides in pertinent part:
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               Evidence of other crimes, wrongs, or acts is not admissible to
               prove the character of a person in order to show that he acted in
               conformity therewith. It may however, be admissible for other
               purposes, such as proof of motive, opportunity, intent, preparation,
               plan, knowledge, identity, or absence of mistake or accident.

The Fifth Circuit has set forth a two-part test for determining the admissibility of evidence under

Rule 404(b). Smith v. State Farm Fire and Cas. Co., 633 F.2d 401, 403 (5th Cir. 1980); U.S. v.

Beechum, 582 F.2d 898 (5th Cir. 1978) (en banc). First, the evidence must be relevant to an issue

other than character. Smith, p. 403. Second, the evidence must possess probative value that is not

substantially outweighed by its undue prejudice and must meet the other requirements of Rule

403. Id. Furthermore, there must be evidence showing that the act in fact occurred and that the

person accused of committing the act in fact did so. Id. In this case, the defendants cannot show

that Mr. McGraw’s prior arrest is relevant to anything other than a remote inference concerning

character. Finally, even if the arrest was relevant, the prejudice that would result from its use

would substantially outweigh any probative value it would have. Accordingly, Plaintiff’s Motion

in Limine should be granted.

   III. The Court Should Exclude At Trial All References to Plaintiff’s Prior Arrest
          Because Such Evidence Is Highly Prejudicial to Plaintiff and Is Not Relevant to
          the Issues to Be Presented at Trial.

       In the case at bar, Mr. McGraw believes counsel for the defendants will attempt to

introduce evidence of Mr. McGraw’s 1992 arrest for possession of cocaine and related

information. The arrest is highly prejudicial to Mr. McGraw in that it has no probative value to

the claims in this case and it would only lead to inferences regarding his character, for which it is

not admissible. In addition, the prior arrest occurred eighteen (18) years ago and is too remote in

time. The possession of an illegal drug has no relevance to claims based on products liability.
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Therefore, the only use defendants could make of the prior arrest is to attempt to disgrace Mr.

McGraw’s character, which is impermissible.

            a. Evidence of Plaintiff’s Prior Arrest is Inadmissible Because it Is Highly
               Prejudicial to Plaintiff.

       In determining if prejudice outweighs the probative value of evidence, the Court must

keep out evidence that would necessarily confuse the jury and waste time on issues outside the

scope of the disputed issues in the case. Fed. R. Evid. 403. Evidence of Mr. McGraw’s prior

arrest would have little probative value but a great potential to prejudice the jury against Mr.

McGraw. Presumably, defendants would seek to introduce the 1992 arrest to show Mr. McGraw

has a problem with drug use. However, this evidence would have no probative value as to

whether Mr. McGraw was negligently exposed to formaldehyde and caused injury by this

exposure.


            b. Evidence of Plaintiff’s Prior Arrest is Inadmissible Because it is Irrelevant.


       Evidence is relevant and admissible it tends to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable that it would have

been without the evidence. Fed. R. Evid. 401. Mr. McGraw’s 1992 arrest and related information

are not relevant to the case. Mr. McGraw’s claims center around a product’s defect and the harm

it caused him. Evidence of Mr. McGraw’s prior arrest does not tend to make the existence or

nonexistence of any fact of this case more or less probable that it would be the case without such

evidence. Further, there is no relation between Mr. McGraw’s prior arrest and any matter

provable in the case.
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   IV. Conclusion

       Based on the foregoing, David McGraw respectfully requests that his present motion be

granted, that this Court exclude all reference to Mr. McGraw’s prior arrest and related

information at trial this matter and grant any further relief deemed necessary.



                                      Respectfully submitted:

                                      FEMA TRAILER FORMALDEHYDE
                                      PRODUCT LIABILITY LITIGATION

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                                          MIKAL WATTS, Texas # 20981820

                              CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been served
upon counsel of record as indicated below in accordance with the Federal Rules of Civil
Procedure on April 7, 2010.

                                          /s/Gerald E. Meunier _
                                          GERALD E. MEUNIER
